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                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

IN RE:                                                          Case # 18-25256

Pamela Kuykendall                                               Chapter 7

                     Debtor(s).                                 Honorable Pamela S. Hollis

                                                                Set for December 21, 2018 at 10:00
                                                         a.m.

                                         NOTICE OF MOTION

    TO: Attached Service List


            PLEASE TAKE NOTICE that on December 21, 2018 at 10:00 a.m., or as soon
   thereafter as counsel may be heard, I shall appear before the Honorable Pamela S. Hollis a t
   Joliet City Hall, 150 West Jefferson Street, 2nd Floor, Joliet, Illinois, or, in her absence, before
   any other Judge who may be sitting in her stead, and shall then and there present Trustee's
   Motion to Compel, a copy of which is attached hereto and is hereby served upon you.

                                                  /s/   _ Cindy M. Johnson ____
   Cindy M. Johnson                                     Chapter 7 Trustee
   Chapter 7 Trustee
   140 S. Dearborn Street, Suite 1510
   Chicago, Illinois 60603
   (312) 345-1306


                                    CERTIFICATE OF SERVICE


           I, Cindy M. Johnson, an attorney, certify that I served true and correct copies of the
   foregoing notice and document to which it refers to the persons listed on the attached service
   list via electronic service on those registered in the CM/ECF system and, for those not listed in
   the CM/ECF system, at the addresses listed, by placing them in envelopes, properly
   addressed, with proper postage prepaid, and depositing them in the United States Mail Chute
   at 140 S. Dearborn Street, Chicago, Illinois at or before 5:00 p.m. on December 7, 2018.

                                                        __/s/ Cindy M. Johnson
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                                     SERVICE LIST


Electronic Mail Notice List

   •   Robert J Adams RobertJAdams@jubileebk.net,
       bankruptcy714@gmail.com;illinoisecf@gmail.com;lake.rjaign@gmail.com;robertjada
       ms@stratusbk.com;bankruptcy713@yahoo.com
   •   Patrick S Layng USTPRegion11.ES.ECF@usdoj.gov



US Mail

Pamela Kuykendall
2723 Showplace Dr 201
Naperville, IL 60564
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                         IN THE UNITED STATES BANKRUPTCY
                        COURT FOR THE NORTHERN DISTRICT OF
                             ILLINOIS EASTERN DIVISION

IN RE:                                                     Case # 18-25256

Pamela Kuykendall                                          Chapter 7

                    Debtor(s).                              Honorable Pamela S. Hollis

                                                            Set for December 21, 2018 at 10:00
                                                    a.m.

                                     MOTION TO COMPEL

          NOW COMES, Cindy M. Johnson (hereafter, “Trustee”), not individually, but as

 trustee of the bankruptcy estate of Pamela Kuykendall, and in support of her Motion to

 Compel, states as follows:

          1. On September 7, 2018, Pamela Kuykendall filed a voluntary petition

 for relief pursuant to Chapter 7 of the United States Bankruptcy Code (hereafter,

 “Code”).

          2. Pamela Kuykendall (“Debtor) is the debtor in this case.

          3. As a party in interest, Trustee is amply justified in requesting documents and

 information from a debtor(s) concerning (a) the acts of the debtor(s), (b) the conduct of the

 debtor(s), (c) the property of the debtor(s), (d) matters which may affect the

 administration of the debtor’s estate, (e) the operation of any business and the

 desirability of its continuance, and (f) any other matter relevant to the case or the

 administration of the debtor’s estate.

          4. If Trustee learns from her examination of a debtor that the debtor’s schedules

 or statement of financial affairs were inaccurately completed, she is justified in

 requesting that the debtor file an amended document accurately reflecting the particular

 issue.
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       5. The Section 341(a) meeting of creditors originally scheduled for October 09,

2018, Debtor was examined by the Trustee and at the conclusion of the meeting the

Trustee requested the following

       •   file an amended Voluntary Petition, checking the box yes to statement 11

           reflecting that Debtor rents her residence

       •   file an amended schedule A/B be amended to reflect the Debtor’s security

           deposit

       •   file an amended schedule G to disclose Debtor’s written residential lease.

       6. As of December 6, 2018, the requested amendments have not been made.

       WHEREFORE, Cindy M. Johnson, not individually, but as Trustee of the Estate of

Pamela Kuykendall asks this Honorable Court to enter to enter an order:

       1. Compelling that the Debtor, within fourteen days, to:

              a. Amend her Voluntary Petition to check the box yes to accurately reflect

                 Debtor’s rental interest in her residence.

              b. Amend Schedule A/B to reflect Debtor’s security deposit.

              c. Amend Schedule G to disclose Debtor’s written residential lease

       2. Granting such other and further relief as is just and equitable.



                                                   Respectfully submitted,
                                                   Cindy M. Johnson, not individually, but
                                                   as Trustee of the Estate of Pamela
                                                   Kuykendall


                                                    /s/   _ Cindy M. Johnson ____
Cindy M. Johnson                                           Chapter 7 Trustee
Chapter 7 Trustee
140 S. Dearborn Street, Suite 1510
Chicago, Illinois 60603
(312) 345-1306
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